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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

    CATELIN CLOBES,                                            Civil Action No.
                                                            21-cv-02117-PJS-JFD
                       Plaintiff,

            v.                                     REPLY MEMORANDUM OF LAW
                                                      IN SUPPORT OF MOTION
    NBCUNIVERSAL MEDIA, LLC,                      TO DISMISS PLAINTIFF’S SECOND
                                                     AMENDED COMPLAINT BY
                       Defendant.                   DEFENDANT NBCUNIVERSAL
                                                            MEDIA, LLC


       Defendant NBCUniversal Media, LLC (“NBC”)1 hereby respectfully submits this

Reply Memorandum in Support of its Motion to Dismiss Plaintiff’s Second Amended

Complaint (“SAC”) pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

       Plaintiff Catelin Clobes fails to engage with any of NBC’s legal arguments that

her lawsuit should be dismissed, both because it is time-barred and otherwise fails to state

an actionable claim. Instead, she fashions an Opposition that is essentially a copy-paste

collage of her SAC, reordered and unnumbered. Like her SAC, it includes several

passages purportedly sourced from a declaration by Robert J. Fisher. This declaration

still has not been filed with this Court, if it exists at all – and, in any event, it would not

bear upon this Motion. Her Opposition thus feebly attempts to sustain a lawsuit that

never should have been brought.




1
 The individual defendants initially named in this case have been removed from the
caption given their dismissal for lack of service. See Dkt. 27.
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       NBC’s article—How anti-vaxxers target grieving moms and turn them into

crusaders against vaccines (the “News Report”)—reported Clobes’s story in detail and

presented her perspective about vaccines causing her daughter’s death, as well as

contradictory evidence, within the context of the anti-vaccine movement. It is a well-

reported news story on an issue of significant public concern. Clobes’s apparent belief

that the News Report is unflattering to her is not enough to sustain her claims. She fails

to provide any legal basis as to why this case should continue. Clobes’s Second

Amended Complaint should be dismissed with prejudice.

                                        ARGUMENT

I.     MINNESOTA’S TWO-YEAR STATUTE OF LIMITATIONS
       EXPIRED BEFORE CLOBES COMMENCED THIS ACTION.

       The Opposition fails to acknowledge (1) that this lawsuit was not “commenced”

for purposes of Minnesota’s two-year statute of limitations until Clobes served NBC

(after the limitations period had expired) or (2) that Minnesota’s COVID-19 suspension

provision is not a tolling provision and thus does not impact the expiration of the statute

of limitations in this case. Instead, without any legal support, Clobes seems to assert that

filing her original Complaint commenced the lawsuit. And, as NBC anticipated in its

opening Memorandum, she argues that the statute of limitations was tolled rather than

suspended, based on an inapplicable version of a law that was subsequently amended.

       1.       Clobes states that the “filing” of her Complaint was timely, then goes on to

state that NBC was “served well within the tolling period due to the covid-19 pandemic.”

Opp. (Dkt. 47) at 15-16 (emphasis added). These two events, filing and service, are not



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interchangeable: As NBC’s opening Memorandum (Dkt. 39) sets forth in detail, service,

not filing, stops the running of the statute of limitations in Minnesota. Mem. at 9-11.

Where federal jurisdiction is based on diversity, as it is here, “Minnesota’s substantive

law, including its statute of limitations, applies.” Larsen v. Mayo Med. Ctr., 218 F.3d

863, 866 (8th Cir. 2000). Moreover, “state commencement rules apply because they are

‘part and parcel of the statute of limitations.’” Id. at 867; see also Fredin v. City Pages,

2020 U.S. Dist. LEXIS 101236, at *16 (D. Minn. May 19, 2020). In Minnesota, a civil

action is commenced “when the summons is served upon that defendant.” Minn. R. Civ.

P. 3.01; Larsen, 218 F.3d at 867. Minnesota’s two-year statute of limitations thus

expired before Clobes served NBC, under well-established Eighth Circuit precedent

applying Minnesota law. See Mem. at 9-11.

       2.       Clobes cites to the superseded version of Minnesota’s COVID-19

emergency provision, 2020 Minn. H.F. No. 4556, Art. 1, Sec. 16, when she asserts that

this law “tolled” the statute of limitations. Opp. at 16. She then asserts that Minnesota

subsequently enacted a law that “waived deadlines on court proceedings by an additional

two months,” citing an article, rather than the law itself. Id. She omits the fact that the

law referenced in the article also amended the law she cites.2 In fact, the law in the

article is the very same law cited by NBC, see Mem. at 11-12 (citing 2021 Minn. H.F.

No. 114, Art. I, Sec. 16(a)). This law states that it is “amend[ing]” 2020 Minn. H.F. No.


2
 Clobes also cites New York cases addressing that state’s COVID-19 emergency
provision. See Opp. at 16. These cases are not relevant to this analysis, as the laws are
not analogous. She does not attempt to explain why those authorities should be
considered here.


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4556, Art. 1, Sec. 16. 2021 Minn. H.F. No. 114. As explained more fully in NBC’s

opening Memorandum, Mem. at 11-12, this law—which is the operative law, despite

Plaintiff’s failure to cite or analyze it—unequivocally provides that “deadlines imposed

by statutes governing proceedings in the district and appellate courts, including any

statutes of limitations or other time periods prescribed by statute, shall not expire from

the beginning of the peacetime emergency declared on March 13, 2020 . . . through April

15, 2021.” 2021 Minn. H.F. No. 114, Art. I, Sec. 16(a). In other words, it suspended,

rather than tolled, statutes of limitations. The statute of limitations on Clobes’s claims

did not expire until September 24, 2021 (two years after publication)—well after April

15, 2021 (the end of the suspension period). The running of the statute of limitations in

this case thus was not impacted at all by Minnesota’s COVID-19 suspension provision.

       Clobes’s claims are untimely and should be dismissed with prejudice for this

independent reason. Nonetheless, NBC will address the additional flaws in Clobes’s

Opposition below.

II.    CLOBES’S OPPOSITION MERELY REPACKAGES HER FLAWED
       ALLEGATIONS AND FAILS TO ADDRESS NBC’S DEFENSES.

       Rather than addressing the substance of NBC’s Motion, the Opposition appears to

copy-paste allegations from the SAC without addressing their fundamental legal flaws

and presents irrelevant arguments that do not address any of the defenses raised by NBC,

including:3



3
  NBC notes as well that Clobes omits the “fault” element from her recitation of the legal
standard for defamation. Opp. at 5. This element is not at issue for purposes of this

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       1.       Clobes fails to acknowledge any of NBC’s arguments as to why her claims

fail on the merits, including that several challenged statements are not “of and

concerning” her, Mem. at 22, none of the challenged statements convey a defamatory

meaning, id. at 23-24, none of the challenged statements are materially false, id. at 25-27,

several of the challenged statements are protected by Minnesota’s fair report privilege, id.

at 27-30, and her derivative claims for “emotional distress” and “reasonable care” rise

and fall with her defamation claim and fail to state causes of action, id. at 30-31.4 For all

of these reasons, discussed in detail in NBC’s opening Memorandum, Clobes’s claims

fail as a matter of law.

       2.       Clobes notes that the reporter who authored the NBC article, Brandy

Zadrozny, also participated in an interview on NBC’s website. Opp. at 3. Clobes has

not, however, alleged that a single statement from that interview defamed her. See SAC

(Dkt. 36) ¶¶ 7-8 listing statements from “the article”; Opp. at 7-9 (repeating SAC ¶ 8).

       3.       Clobes repeats verbatim her contentions from Paragraphs 4-5 of her SAC,

including that NBC’s News Report “in journalistic terms, was a ‘news story’ and not an

‘opinion piece’” and thus, as an ethical matter, “is required to be fair and balanced and

not biased or slanted.” See Opp. at 6-7 (repeating SAC ¶¶ 4-5). But what matters is




Motion. For reference, however, the full legal standard is set forth in NBC’s opening
Memorandum. See Mem. 12-13 & n.6.
4
  Clobes’s Opposition was due on May 18, 2022. On May 8, 2022, her counsel emailed
undersigned counsel seeking a two-week extension, which undersigned counsel agreed
they would not oppose. Clobes nevertheless failed to request this extension from the
court and filed her Opposition on June 1, 2022, well past the May 18 deadline.


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whether Clobes has identified a false and defamatory statement about her, see Stepnes v.

Ritschel, 663 F.3d 952, 963 (8th Cir. 2011), not her self-serving characterizations of the

News Report (which speaks for itself) or her purported expert’s musings on what

constitutes good journalism, all of which are irrelevant to the defenses in NBC’s opening

Memorandum.

       4.       Indeed, although Clobes extensively quotes from that expert’s purported

declaration see Opp. at 6-7 (repeating SAC ¶¶ 4-6), neither that declaration (nor a second

declaration reference in the SAC) has been filed with the Court. Nor has Clobes

explained how this purported declarant is “relevant to her claims against NBC.” See

Mem. at 7 n.4. The related allegations and statements are similarly irrelevant.

       5.       Clobes fails to clarify which statements she alleges are defamatory (and

why) and instead presents the Court with a “representative list” of statements, pulled

verbatim from Paragraph 8 of her SAC. Opp. at 7-9. Although she continues to insist

these statements are “false,” she does not attempt to argue how any of these statements

(or any other statements) could form the basis of a valid claim in light of the defenses set

forth in NBC’s opening Memorandum.

       6.       Clobes repeats irrelevant allegations concerning damages from her SAC in

a section of her Opposition titled “Statements harmed the Plaintiff’s reputation and also

significantly lowered the Plaintiff in the estimation of the community.” Id. at 9-15

(repeating SAC ¶¶ 9, 15, 21, 23, 30-34). Allegations of damages are plainly irrelevant to

all of the defenses raised by NBC. See generally Mem.




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       7.       As part of the above-noted section on damages, Clobes takes issue with (1)

NBC’s reporting that she “had a whiskey cocktail” on the evening of her daughter’s death

and (2) its reporting that, when Clobes called 911, she stated, “This is because she was

sleeping with me.” Opp. at 10-11. Clobes does not, however, attempt to assert that either

statement is false, and thus they are not actionable and have no place in the Court’s

consideration of this Motion. See Stepnes, 663 F.3d at 963 (citing Britton v. Koep, 470

N.W.2d 518, 520 (Minn. 1991)); see Mem. at 25-27. Indeed, she argues merely that, in

her opinion, inclusion of these details was “not necessary.” See, e.g., Opp. at 10. She

ignores, however, that what information to include in a News Report is question for

journalists and their editors, not plaintiffs or judges. See, e.g., Miami Herald Publ’g Co.

v. Tornillo, 418 U.S. 241, 258 (1974) (“The choice of material to go into a newspaper,

and the decisions made as to limitations on the size and content of the paper, and

treatment of public issues and public officials . . . constitute the exercise of editorial

control and judgment,” and “[i]t has yet to be demonstrated how governmental regulation

of this crucial process can be exercised consistent with First Amendment guarantees of a

free press as they have evolved to this time.”).

       Moreover, Clobes acknowledges that the first statement was “included in the

detective’s report” and the second statement was “made during Plaintiff’s 9-1-1

telephone call.” Opp. at 10-11. Minnesota’s fair report privilege applies to the

publication of allegedly defamatory matter “concerning another in a report of an official

action or proceeding . . . that deals with a matter of public concern,” so long as “the

report is accurate and complete or a fair abridgment of the occurrence reported.” Moreno


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v. Crookston Times Printing Co., 610 N.W.2d 321, 331 (Minn. 2000) (citing Restatement

(Second) of Torts § 611); see Mem. at 27-30. For the additional and independent reason

that both statements are covered by the fair report privilege, these statements are not

actionable.

                                     CONCLUSION

       For the reasons set forth above, as well as those set forth in its opening

Memorandum, NBC respectfully requests that this Court grant its Motion to Dismiss

Clobes’s Second Amended Complaint with prejudice.

 Dated: June 15, 2022                             BALLARD SPAHR LLP

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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 CATELIN CLOBES,                                           Civil Action No.
                                                        21-cv-02117-PJS-FJD
                      Plaintiff,

           v.                                 LOCAL RULE 7.1
                                              CERTIFICATE OF COMPLIANCE
 NBCUNIVERSAL MEDIA, LLC,

                      Defendant.

       I, Leita Walker, certify that the Reply Memorandum of Law in Support of

Defendants’ Motion to Dismiss Plaintiff’s Second Amended Complaint complies with

Local Rule 7.1(f).

       I further certify that, in preparation of the above document, I used Microsoft Word

2016 and that this word processing program has been applied specifically to include all

text, including headings, footnotes, and quotations in the following word count. In

compliance with Local Rule 7.1(f)(C), the word count does not include the caption, the

signature block, or any certificates of compliance.

       I further certify that the above document contains 1,951 words – and that the

opening Memorandum and Reply together contain 9,948 words.

 Dated: June 15, 2022                         BALLARD SPAHR LLP

                                               /s/ Leita Walker
                                              Leita Walker (MN Bar No. 0387095)

                                              Counsel for Defendant NBCUniversal
                                              Media, LLC
